


  Appeal from a judgment of the Niagara County Court (Matthew J. Murphy, III, J.), rendered April 27, 2015. The judgment convicted defendant, upon his plea of guilty, of assault in the second degree.
 

  It is hereby ordered that the judgment so appealed from is unanimously affirmed.
 

  Memorandum: Defendant appeals from a judgment convicting him upon his plea of guilty of assault in the second degree (Penal Law § 120.05 [6]). Contrary to defendant’s contention, the record establishes that he knowingly, voluntarily, and intelligently waived the right to appeal (see generally People v Lopez, 6 NY3d 248, 256 [2006]), and that valid waiver forecloses any challenge by defendant to the severity of the sentence (see id. at 255-256; see generally People v Lococo, 92 NY2d 825, 827 [1998]).
 

  Present—Centra, J.P., Peradotto, Carni, DeJoseph and Winslow, JJ.
 
